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                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      CR NO. 2:12-CR-33-WKW
                                                 )
MILTON BENNETT                                   )

                            ORDER ON ARRAIGNMENT

       On April 12, 2012, the defendant, Milton Bennett, appeared in person and in open
court with counsel, Richard Keith, and was arraigned in accordance with the provisions
of Rule 10 of the Federal Rules of Criminal Procedure.

        PLEA. The defendant entered a plea of NOT GUILTY. Counsel for the
defendant is requested to contact the U.S. Attorney immediately if the defendant intends
to engage in plea negotiations. If the defendant decides to change this plea, the parties
shall file a notice of intent to plead guilty or otherwise notify the clerk’s office at or
before the pretrial conference and then this action will be set on a plea docket.

        PRELIMINARY SENTENCING GUIDELINES INFORMATION. The court
no longer requires the United States Probation Office to provide preliminary sentencing
guideline information to defendants. However, in difficult or complex cases defendants
may request the United States Probation Office to provide Sentencing Guideline
calculation assistance with the understanding that any estimate is tentative only and is not
binding on the United States Probation Office, the parties or the court. The court expects
that requests for Sentencing Guideline calculation assistance shall be the exception and
that defendants will not make such requests a matter of routine. A request for Sentencing
Guideline calculation assistance shall be made to the United States Probation Office not
later than 10 days from the date of this order.

       PRETRIAL CONFERENCE. An initial pretrial conference is hereby set for
October 15, 2012 at 1:00 p.m., in Courtroom 4B, United States Courthouse Complex,
One Church Street, Montgomery, Alabama. Not later than three (3) days prior to the
date of the pretrial conference, counsel shall confer about the issues and matters to
be discussed at the pretrial conference as set forth in this order. Counsel who want
in-custody defendants to attend must notify the Magistrate Judge within three days of the
conference date so that an order to produce can be issued to the United States Marshal.

       At the pretrial conference defense counsel and counsel for the government shall be
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fully prepared to discuss all pending motions, the status of discovery, possible
stipulations, and the estimated length of the trial. The defense counsel and counsel for the
government shall be fully prepared to provide a definite commitment as to the final
disposition of this case - by trial, plea or other non-trial disposition. If resolution of a
dispositive motion will affect the nature of this commitment, counsel must be fully
prepared to discuss this type of resolution. If the case is for plea, the notice of intent to
enter a plea should be filed at the time of the pretrial conference. If counsel require
additional time for plea negotiations, counsel should be prepared to inform the court
about the date when those negotiations will be completed.

        TRIAL. At arraignment, the parties agreed that due to the nature of this case, the
need for adequate time for discovery and the need for counsel to have adequate time for
trial preparation, the case should be set for trial before Chief United States District
Judge W. Keith Watkins, on the trial term beginning on January 7, 2013, at the United
States District Courthouse in Montgomery, AL, unless otherwise ordered by the court.

          In setting this case for trial on the term indicated above, the court recognizes that
the Speedy Trial Act places limits on the court’s discretion, and that under the act, the
trial of a defendant must commence within 70 days of the date of the indictment or the
date of the defendant’s first appearance before a judicial officer, whichever is later. 18
U.S.C. § 3161(h)(7). In determining whether a case should be set after the expiration of
the 70 day period, a court must consider among other factors “[w]hether the failure to [set
the case at a later date] . . . would be likely to . . . result in a miscarriage of justice.” 18
U.S.C. § 3161(h)(7). The court also must consider “whether the failure to grant such a
continuance . . . would deny counsel for the defendant or the attorney for the government
the reasonable time necessary for effective preparation, taking into account the exercise
of due diligence.” 18 U.S.C. § 3161(h)(1). Based on the nature of this case which
involves a sophisticated conspiracy to obtain money through the filing of false tax returns,
wire and mail fraud and aggravated identity theft, the parties’ need for adequate time for
discovery which involves over 20,000 documents and the need for counsel to have
adequate time for trial preparation, the court finds that the ends of justice served by
setting this case on this trial term outweigh the best interest of the public and the
defendant in a speedy trial.

      PRETRIAL MOTIONS. All pretrial motions under Fed.R.Crim.P. 12(b) and (d),
14 and 16, all notices under Fed.R.Crim.P. 12.1, 12.2 and 12.3, and any motion to compel
pursuant to this court' standing order on discovery must be filed no later than TWO
DAYS BEFORE THE FIRST PRETRIAL CONFERENCE HELD IN THIS CASE,
except that if the pretrial conference falls on Monday, the deadline for filing pretrial
motions is always the preceding Wednesday. No motion filed after this date will be

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considered unless filed with leave of court. Unless otherwise ordered by the court, the
continuance of the trial of a case will not extend the time for filing pretrial motions. THE
CONFERENCING REQUIREMENT SET FORTH IN THE STANDING ORDER
ON CRIMINAL DISCOVERY SHALL BE MET BEFORE THE COURT WILL
CONSIDER ANY DISCOVERY MOTION. THE COURT WILL NOT GRANT
MOTIONS TO ADOPT MOTIONS FILED BY OTHER DEFENDANTS.

       Motions to suppress must allege specific facts which, if proven, would provide a
basis of relief. This court will summarily dismiss suppression motions which are
supported only by general or conclusory assertions founded on mere suspicion or
conjecture. All grounds upon which the defendant relies must be specifically stated
in the motion in separately numbered paragraphs in a section of the motion which is
labeled "Issues Presented.". Grounds not stated in the "Issues Presented" section of
the motion will be deemed to have been waived. See generally United States v.
Richardson, 764 F.2d 1514,1526-27 (11th Cir. 1985).

      The government shall file a response to all motions filed by the defendant on or
before five days prior to the date set for a hearing on the motion or, if no hearing is
necessary, on or before ten (10) days after the date of the pretrial conference.

       DISCOVERY. All discovery in this action shall be conducted according to the
requirements of this court's Standing Order on Criminal Discovery. A copy of the
standing order is attached and also may be found at http://www.almd.uscourts.gov.
Unless the government provided initial disclosures to defendant prior to or at
arraignment, the government is ORDERED to tender initial disclosures to the defendant
on or before April 12, 2012. Disclosures by the defendant, as required by ¶ 4 of the
Standing Order on Criminal Discovery shall be provided on or before April 19, 2012.

      JENCKS ACT STATEMENTS. The government agrees to provide defense
counsel with all Jencks Act statements no later than the day scheduled for the
commencement of the trial.1

       MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all
parties are ORDERED to appear at all future court proceedings in this criminal case.
Those attorneys who find it impossible to be in attendance (especially at the pretrial
conference, jury selection, or trial) must make arrangements to have substitute counsel
appear on behalf of their clients. Any attorney who appears as substitute counsel for a


       1
           In certain complex cases, the government may agree to earlier production.

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defendant shall have full authorization from the defendant to act on his or her behalf and
be fully prepared to proceed. Substitute counsel shall not be counsel for a co-defendant
unless permitted by the court after proper motion. Any counsel who wishes to have
substitute counsel appear must obtain permission of the court in advance.

      NOTE: Except in extraordinary circumstances or circumstances in which the
Constitution would require it, the court will not entertain motions to withdraw filed
by counsel who appear at arraignment unless the motions are filed within seven
days of the date of this order. Failure to obtain fees from a client is not an
extraordinary circumstance.

       Done this 13th day of April, 2012.



                                        /s/Charles S. Coody
                                   CHARLES S. COODY
                                   UNITED STATES MAGISTRATE JUDGE




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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA

                                                                       CR. MISC. #534

                  STANDING ORDER ON CRIMINAL DISCOVERY

   It is the court's policy to rely on the standard discovery procedure as set forth in this
Order as the sole means of the exchange of discovery in criminal cases except in
extraordinary circumstances. This Order is intended to promote the efficient exchange of
discovery without altering the rights and obligations of the parties, but at the same time
eliminating the practice of routinely filing perfunctory and duplicative discovery motions.

INITIAL DISCLOSURES:

(1) Disclosure by the Government. At arraignment, or on a date otherwise set by the court
for good cause shown, the government shall tender to defendant the following:

(A) Fed. R. Crim. P. 16(a) Information. All discoverable information within the scope of
Rule 16(a) of the Federal Rules of Criminal Procedure.

(B) Brady Material. All information and material known to the government which may be
favorable to the defendant on the issues of guilt or punishment, without regard to
materiality, within the scope of Brady v. Maryland, 373 U.S. 83 (1963).

(C) Giglio Material. The existence and substance of any payments, promises of immunity,
leniency, preferential treatment, or other inducements made to prospective witnesses,
within the scope of United States v. Giglio, 405 U.S. 150 (1972).

(D) Testifying informant's convictions. A record of prior convictions of any alleged
informant who will testify for the government at trial.

(E) Defendant's identification. If a line-up, show-up, photo spread or similar, procedure
was used in attempting to identify the defendant, the exact procedure and participants
shall be described and the results, together with any pictures, and photographs, shall be
disclosed.

(F) Inspection of vehicles, vessels, or aircraft. If any vehicle, vessel, or aircraft, was
allegedly utilized in the commission of any offenses charged, the government shall permit
the defendant's counsel and any expert selected by the defense to inspect it, if it is in the
custody of any governmental authority.
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(G) Defendant's latent prints. If latent fingerprints, or prints of any type, have been,
identified by a government expert as those of the defendant, copies thereof shall be
provided.

(H) Fed. R. Evid.404(b). The government shall advise the defendant of its intention to
introduce evidence in its case in chief at trial, pursuant to Rule 404(b) of the Federal
Rules of Evidence.

(I) Electronic Surveillance Information. If the defendant was an aggrieved person as
defined in 18 U.S.C. § 2510(11), the government shall so advise the defendant and set
forth the detailed circumstances thereof.

(2) Obligations of the Government.

(A) The government shall anticipate the need for, and arrange for the transcription of the
grand jury testimony of all witnesses who will testify in the government's case in chief, if
subject to Fed. R. Crim. P. 26.2 and 18 U.S.C. ' 3500. Jencks Act materials and witnesses'
statements shall be provided as required by Fed. R. CRIM. P. 26.2 and 18 U.S.C. ' 3500.
However, the government, and where applicable, the defendant, are requested to make
such materials and statements available to the other party sufficiently in advance as
to avoid any delays or interruptions at trial. The court suggests an early disclosure of
Jencks Act materials.,

(B) The government shall advise all government agents and officers involved in the case
to preserve all rough notes.

(C) The identification and production of all discoverable evidence or information is the
personal responsibility of the Assistant United States Attorney assigned to the case and
may not be delegated without the express permission of the court.

(3) Disclosures to U.S. Probation. At arraignment, or on a date otherwise designated by
the court upon good cause shown, the government shall tender to the U.S. Probation
Office all essential information needed by U.S. Probation to accurately calculate the
sentencing guideline range for the defendant, including, but not limited to, information
regarding the nature of the offense (offense level), the nature of the victim and the injury
sustained by the victim, defendant's role in the offense, whether defendant obstructed
justice in the commission of the crime, defendant's criminal history, and any information
regarding defendant's status as a career offender/armed career criminal. In addition, in
order to comply with the requirements of the Anti-Terrorism Act, the government shall
produce to the U.S. Probation Office information regarding the victims of defendant's
alleged criminal activity, including, but not limited to, the identity of the victim by name,
address, and phone number, and the nature and extent of the victim's loss or injury.
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(4) Disclosures by the Defendant. If defendant accepts or requests disclosure of
discoverable information pursuant to Fed. R. CRIM. P. 16(a)(1)(C), (D), or (E),
defendant, on or before a date set by the court, shall provide to the government all
discoverable information within the scope of Fed. R. Crim. P. 16(b).

SUPPLEMENTATION. The provisions of Fed. R. CRIM. P. 16(c) are applicable. It shall
be the duty of counsel for all parties to immediately reveal to opposing counsel all newly
discovered information, evidence, or other material within the scope of this Rule, and
there is a continuing duty upon each attorney to disclose expeditiously.

MOTIONS FOR DISCOVERY. No attorney shall file a discovery motion without first
conferring with opposing counsel, and no motion will be considered by the court unless it
is accompanied by a certification of such conference and a statement of the moving
party's good faith efforts to resolve the subject matter of the motion by agreement with
opposing counsel. No discovery motions shall be filed for information or material within
the scope of this Rule unless it is a motion to compel, a motion for protective order or a
motion for an order modifying discovery. See Fed. R. CRIM. P. 16(d). Discovery requests
made pursuant to Fed. R. CRIM. P. 16 and this Order require no action on the part of this
court and shall not be filed with the court, unless the party making the request desires to
preserve the discovery matter for appeal.

Done this 4th day of February, 1999.

                                          /s/ W. Harold Albritton
                                          CHIEF UNITED STATES DISTRICT JUDGE

                                          /s/ Myron H. Thompson
                                          UNITED STATES DISTRICT JUDGE

                                          /s/ Ira De Ment
                                          UNITED STATES DISTRICT JUDGE
